       Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 1 of 13




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MARLON BROWN,

             Plaintiff,                           CIVIL ACTION FILE
v.                                                NO. 1:21-CV-00010-SDG

PATRICK DAVID FLUELLEN.

             Defendant.


                   DEFENDANT’S INITIAL DISCLOSURES

      COMES NOW defendant Patrick David Fluellen (hereinafter “defendant” or

“Deputy Fluellen”), by and through counsel, and pursuant to Rule 26(a)(1) of the

Federal Rules of Civil Procedure, submits his initial disclosures as follows:

(1)   If the defendant is improperly identified, state defendant’s correct

identification and state whether defendant will accept service of an amended

summons and complaint reflecting the information furnished in this

disclosure response.

      Defendant is properly identified.

(2)   Provide the names of any parties whom defendant contends are

necessary parties to this action, but who have not been named by plaintiff. If

defendant contends that there is a question of misjoinder of parties, provide

the reasons for defendant’s contention.
       Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 2 of 13




      At this time, defendant is unaware of any necessary parties who have not

been joined.

(3)   Provide a detailed factual basis for the defense or defenses and any

counterclaims or crossclaims asserted by defendant in the responsive

pleading.

      On June 16, 2017, while working in the Clayton County Courthouse, Deputy

Patrick Fluellen heard plaintiff causing a disturbance and shouting profanity

towards the presiding judge from a holding cell. Deputy Fluellen entered the

holding area and encountered plaintiff who was refusing to comply with the

courthouse security officer, Rasheeda Leak’s commands to get into the elevator to

be escorted out of the Courthouse. Deputy Fluellen instructed plaintiff to get into

the elevator, but he refused. Deputy Fluellen repeated this instruction but plaintiff

continued refusing to get into the elevator and instead continued to shout

profanities. Deputy Fluellen attempted to manually assist plaintiff to the elevator

but he resisted by locking his legs and placing both of his feet on the ground and

pushing backwards. Deputy Fluellen lifted plaintiff from the ground and attempted

to physically move him into the elevator at which point plaintiff stumbled, came

out of his shoes, and fell into the elevator. Deputy Fluellen contends that his use of

force was objectively reasonable under the totality of the circumstances and did not

violate any of plaintiff’s rights under the United States Constitution, Georgia



                                        -2-
       Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 3 of 13




Constitution, or any other laws. Deputy Fluellen denies any and all liability for the

claims asserted.

(4)   Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which Defendant

contends are applicable to this action.

      Illustrative authorities include but are not limited to the following:

          Fourth and Fourteenth Amendments of the United States Constitution

             and interpreting case law.

          42 U.S.C. §§ 1983 and 1988 and interpreting case law, including case

             law detailing the principles and parameters of qualified immunity.

          The Georgia Constitution and interpreting case law, including case

             law detailing the principles and parameters of official immunity.

          Case law detailing the principles and parameters of plaintiff’s claims

             for attorney’s fees and punitive damages.

          Case law detailing the principles and parameters of plaintiff’s state

             law claims of battery, assault, and intentional infliction of emotional

             distress.

      Defendant’s research, investigation, and discovery is ongoing, and he

reserves the right to supplement these disclosures with additional legal authority.




                                          -3-
       Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 4 of 13




(5)   Provide the name and, if known, the address and telephone number of

each individual likely to have discoverable information relevant to disputed

facts alleged with particularity in the pleadings, identifying the subjects of the

information. (Attach witness list to Initial Disclosures as Attachment A.)

      See Attachment A.

(6)   Provide the name of any person who may be used at trial to present

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For

all experts described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate written

report satisfying the provisions of that rule. (Attach expert witness list and

written reports to Initial Disclosures as Attachment B.)

      See Attachment B.

(7)   Provide a copy of, or description by category and location of all

documents, data compilations, and tangible things in your possession, custody,

or control that you may use to support your claim or defenses unless solely for

impeachment, identifying the subjects of the information. (Attach document

list and descriptions to Initial Disclosures as Attachment C.)

      See Attachment C.

(8)   In the space provided below, provide a computation of any category of

damages claimed by you. In addition, include a copy of, or describe by

category and location of, the documents or other evidentiary material, not



                                      -4-
        Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 5 of 13




privileged or protected from disclosure on which such computation is based,

including materials bearing on the nature and extent of injuries suffered,

making such documents or evidentiary material available for inspection and

copying under Fed. R. Civ. P. 34. (Attach any copies and descriptions to

Initial Disclosures as Attachment D.)

       See Attachment D.

(9)    If Defendant contends that some other person or legal entity is, in whole

or in part, liable to the Plaintiff or Defendant in this matter, state the full

name, address, and telephone number of such person or entity and describe in

detail the basis of such liability.

       Other than plaintiff, defendant is unaware of any other person or legal entity

liable to plaintiff in this matter.

(10) Attach for inspection and copying as under Fed. R. Civ. P. 34 any

insurance agreement under which any person carrying on an insurance

business may be liable to satisfy part or all of a judgment which may be

entered in this action or to indemnify or reimburse for payments to satisfy the

judgment.      (Attach copy of insurance agreement to Initial Disclosures as

Attachment E.)

       See Attachment E.




                                        -5-
       Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 6 of 13




                                   FREEMAN MATHIS & GARY, LLP

                                   /s/ A. Ali Sabzevari
                                   Jack R. Hancock
                                   Georgia Bar No. 322450
                                   jhancock@fmglaw.com
                                   A. Ali Sabzevari
                                   Georgia Bar No. 941527
                                   asabzevari@fmglaw.com
661 Forest Parkway, Suite E
Forest Park, Georgia 30297
(404) 366-1000 (telephone)
(404) 361-3223 (facsimile)
                                   Attorneys for Defendant




                                    -6-
      Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 7 of 13




                              ATTACHMENT A

1.   Patrick David Fluellen has knowledge regarding the factual basis for the

     allegations contained in plaintiff’s complaint and his defenses. Fluellen may

     be contacted through Freeman Mathis & Gary, LLP.

2.   Plaintiff has knowledge regarding the factual basis for the allegations

     contained in his complaint. Plaintiff may be contacted through his counsel

     of record.

3.   Individuals with Clayton County Sheriff’s Office may have knowledge

     regarding the factual basis for the allegations contained in plaintiff’s

     complaint and defendant’s defenses.

4.   All individuals identified or referenced in Clayton County Sheriff’s Office IA

     File, 2018-IA-032, may have knowledge regarding the factual basis for the

     allegations contained in plaintiff’s complaint and defendant’s defenses.

5.   All individuals identified or referenced in Georgia Bureau of Investigation

     Case File, Case No. 10-0405-34-18, may have knowledge regarding the

     factual basis for the allegations contained in plaintiff’s complaint and

     defendant’s defenses.

6.   Individuals with CorrectHealth may have knowledge regarding the factual

     basis for the allegations contained in plaintiff’s complaint and defendant’s

     defenses.


                                      -7-
       Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 8 of 13




7.    Rasheeda Leak may have knowledge regarding the factual basis for the

      allegations contained in plaintiff’s complaint and defendant’s defenses.

      Defendant is unaware of Leak’s contact information.

8.    E. Carpenter may have knowledge regarding the factual basis for the

      allegations contained in plaintiff’s complaint and defendant’s defenses.

      Defendant is unaware of Carpenter’s contact information.

9.    All individuals identified by plaintiff in the complaint may have knowledge

      regarding the factual basis for the allegations contained in plaintiff’s

      complaint and defendant’s defenses.

10.   Any individuals identified or referenced during the course of discovery or at

      any time during this civil action, including any individuals identified in records

      exchanged during discovery, may have knowledge regarding the factual basis

      for the allegations contained in plaintiff’s complaint and defendant’s defenses.

11.   All individuals identified in plaintiff’s initial disclosures may have

      knowledge regarding the factual basis for the allegations contained in

      plaintiff’s complaint and defendant’s defenses.

12.   Defendant’s research, investigation, and discovery is ongoing, and he

      reserves the right to supplement these disclosures with additional witnesses.




                                         -8-
       Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 9 of 13




                                ATTACHMENT B

      Defendant has not yet made a decision as to whether he will present evidence

under Rules 702, 703, or 705 of the Federal Rules of Evidence. Defendant will

supplement these disclosures should an expert be retained for trial purposes.




                                         -9-
     Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 10 of 13




                                ATTACHMENT C

1.   All pleadings and records in State of Georgia v. Patrick David Fluellen,

     2018-CR-02778-00 (Superior Ct. Clayton Cnty., December 6, 2018).

2.   Clayton County Sheriff’s Office IA File, 2018-IA-032, and all records

     contained therein.

3.   Georgia Bureau of Investigation Case File, Case No. 10-0405-34-18, and all

     records contained therein.

4.   All documents exchanged or referenced during discovery or at any time during

     this civil action.

5.   All documents listed or produced by plaintiff or defendant in this action.

6.   All documents listed by plaintiff in response to initial disclosures.

7.   Defendant’s research, investigation, and discovery is ongoing, and he

     reserves the right to supplement these disclosures with additional

     information should it be warranted.




                                        - 10 -
Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 11 of 13




                      ATTACHMENT D

Not applicable.




                             - 11 -
       Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 12 of 13




                               ATTACHMENT E

      Defendant will produce Clayton County’s excess liability insurance policy for

inspection and copying at a mutually convenient time.




                                       - 12 -
      Case 1:21-cv-00010-SDG Document 21 Filed 10/26/21 Page 13 of 13




                         CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing DEFENDANT’S INITIAL

DISCLOSURES to the Clerk of Court using the CM/ECF system which will

automatically send electronic mail notification of such filing to counsel of record

who are CM/ECF participants:

                               Harry M. Daniels
                                Khalil C. Eaddy
                            Daniels and James, LLC
                        233 Peachtree St. NE, Suite 1200
                              Atlanta, GA 30303

      This 26th day of October, 2021.


                                        /s/ A. Ali Sabzevari
                                        A. Ali Sabzevari
                                        Georgia Bar No. 941527


FREEMAN MATHIS & GARY, LLP
661 Forest Parkway
Suite E
Forest Park, Georgia 30297-2257
(404) 366-1000 (telephone)
(404) 361-3223 (facsimile)
